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            IN THE CIRCUIT COURT FOR MONTGOMERY                                        COUNTY, MARYLAND
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                                                                                            L   II.. I ,  ,I. /                                              .
            LINDA E. FARWELL,                                  *
            15712 Jones Lane                                   *                                           r :-:.,:.S            CF F :             r   ~


            Darnestown, MD 20878                               *                                            J   .11 L 1\ _:_         \:;r Li
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                            Plaintiff                          *
                                                               *
                            v.                                 *
                                                               *
            CHALLENGE FINANCIAL                                *
            INVESTORS CORPORATION,                             *                                                                 :~~.~~.::-.
                                                                                                                                      ~ :r:~j~i;~;
            360 Central Avenue                                 *                                                                ~!~;j:~.;t~Sr
            Suite 600                                          *                                                                ....
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            St. Petersburg, Florida 33701                      *                                                                MIt ~.. FG~: '~~~::,;                        c'5w0P:
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                            SERVE: National Registered         *                                                                .~:~.:;,:""-=-:t
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                            Agents, Inc. of Md., Second        *   ~.,()                                                        !!~.w ~'~ \ .~:;.~~
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                            Floor, 836 Park Avenue,            *
                            BaltiJ.nore, MD 21201              *
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       c~,~                       '                            *
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                            And                                *
                                                               *
           BRIDGE STREET APPRAISALS                            *
           501 Fairfax Lane                                    *
           Herndon, VA 20171      bO                           *
                                                               *
                            And                                *
                                                               *
           PNC MORTGAGE                                        *
           George P. Long, Ill, Secretary                      *
           249 Fifth Avenue                                    *
           Pittsburgh, PA 15222-2707                           *
                                                               *
                            SERVE: CSC-Lawyers                 *
                            Incorporating Service              *
                            Company, 7 St. Paul Street,        *
                            Suite 1660, Baltimore, MD          *
                            21202                              *
                                                               *
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       Defendants                       *
*      *        *       *       *       *       *       *         *     *       *
                            COMPLAINT AND JURy DEMAND

       Comes now, Plaintiff, Linda E. Farwell, by and through undersigned counsel, and

hereby sues Defendants, Challenge Financial Investors Corporation, Leon Story, Bridge

Street Appraisals, and PNC Mortgage, and avers the following:

                                      Claim Summarv

       Leon Story, Challenge Financial Investors Corporation and Bridge Street

Appraisals (each a Defendant) conspired to defraud Linda E. Farwell (plaintiff) into a

mortgage loan, by which Defendants would receive fees. Defendants Story and Bridge

falsely inflated the value of Plaintiff's house to increase the size of the loan, and thus,

their fees. Defendants Story and Challenge further defrauded Plaintiff into believing that

she could repay the loan by virtue of an incredible rise in her home's value, even though

Story and Challenge lrnew that she could not realistically repay the loan. Plaintiff has

suffered a loss of equity in her borne, destruction ofber creditworthiness and increased

medical costs related to the stress of her financial situation.

        Defendant PNC Mortgage (successor-in-interest to National City Mortgage)

violated the Truth-in-Lending Act, and its implementing regulation, Regulation Z, by

issuing closing documents that listed two different loan amounts and several different

monthly payment amounts. PNC violated the Maryland Consumer Protection Act by

unfairly giving a $641,750.00 mortgage loan to Plaintiff, even though Plaintiff had no

income, thereby setting up Plaintiff for default. PNC violated the Fair Debt Collection

Practices Act by directly contacting Plaintiff for collection of Plaintiffs debt, even though




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PNC should have known Plaintiff was represented by an attorney_ Finally, PNC

breached its mortgage contract with Plaintiff by not dealing with her in good faith., and

attempting to forestall her efforts to use various programs to pay ber mortgage; such

stalling action by PNC buys time for the bank to foreclose on Plaintiffs house.

                                 Parties and Jurisdiction

       1.      Linda E. Farwell, Plaintiff, is a resident of Montgomery County, Maryland

and suffers from multiple sclerosis CUMS"),a disease that affects ber judgment and

comprehension of financial matters.

       2.      At all times relevant hereto, Challenge Financial Investment Corporation

("Challenge"), Defendant, which had its status in Maryland forfeited and is not in good

standing in Maryland, was a mortgage broker having its principal place of business in the

State of Florida, that regularly does or solicits business and engages in a persistent course

of conduct in Montgomery County, Maryland, and/or that derives substantial revenue

from services used in Montgomery County, Maryland.

        3.     At all times relevant hereto, Leon Story CUStory"),Defendant, was a

mortgage broker who was licensed in, and has a principal place of business in, the

Commonwealth of Virginia, who regularly does or solicits business and engages in a

persistent course of conduct in Montgomery County, Maryland, and/or who derives

substantial 'revenue from services used in Montgomery County, Maryland.

        4.     Bridge Street Appraisals ("Bridge"), Defendant, is a real estate appraisal

company having its principal place of business in the Commonwealth of Virginia that

regularly does or solicits business and engages in a persistent course of conduct in




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Montgomery        County, Maryland,      and/or that derives substantial revenue from services

used in Montgomery        County, Maryland.

          5.       Upon information       and belief, PNC Mortgage ("PNC"), Defendant, is a

mortgage company having its principal place of business in the State ofOmo that is the

successor-in-interest     with National City Mortgage, and regularly does or solicits business

and engages in a persistent course of conduct in Montgomery                County, Maryland, and/or

that derives substantial revenue from services used in Montgomery                County, Maryland.

          6.       The occurrence      out of which this case arises took place in Montgomery

County, Maryland.

                                      Facts Common to All Counts

          7.       Prior to her refinancing     contract through Story with Challenge, Plaintiff

resided at 15712 Jones Lane, Darnestown,            Maryland 20878 pursuant to a mortgage with

GMAC Mortgage (entered into on January lO, 2007) that had an adjustable interest rate

of6.875      percent, a principal amount of$566,250.00,         and a monthly payment of

$3,244.14 - this loan with GMAC was also brokered by Story .within three months of

Plaintiffs     mortgage with National, illustrating Story's predatory loan practices ..

(Complaint Exhibit Two).

          8.       Responding     to an advertisement     of Story's, unemployed    Plaintiff and

Story commenced         negotiating    for a refinancing of Plaintiffs    mortgage in 2004 (while

Plaintiff was suffering from optic neuritis, severe headaches, vertigo and blindness in one

eye), and Story acted as the broker for Plaintiffs mortgage refinancings             in 2005 and

January 2007; Story discussed business investments that he would make with Plaintiff

and claimed that Story had profited from said investments,               and could show Plaintiff how




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to profit and join her in an investment; with the promise that Plaintiffs house would soon

have a market value of over $1,000,000.00.

       9.      During the time that Story was working on the subject mortgage with

National, Plaintiff was suffering acutely from MS, which caused her to be bedridden.

        10.     Story preyed on Plaintiffs vulnerable status as an older person who lived

alone, and was very ilL

        11.     Story convinced Plaintiff that refinancing, rather than selling, her home

was in Plaintiff's best interests, and Story called Plaintiff frequently to make Plaintiff

believe that Story was her friend.

        12.     In some conversations between Story and Plaintiff, Story promised

Plaintiff that he would be able to lower her monthly mortgage payments in the immediate

future after Plaintiff refinanced her GMAC mortgage loan through National, which Story

promised Plaintiff would be an interest-only loan for the life of the loan.

        13.     Story told Plaintiff (who had perfect credit at the time) that her Private

Mortgage Insurance would be cancelled when he refinanced her house through National.

        14.     Story assured Plaintiff that the value of her house would soon increase to

over $1,000,000.00.

        15.     Story's handwritten notes (discovered by Plaintiff in March 2010) noted

the following: "Duty of care - ability to repay - no income bedridden - MS" and

"Appraiser did what told to do. $750K"; Story knew that Plaintiff bad no income, and

was very ill with multiple sclerosis. (Complaint Exhibit Three).

         16.    Pursuant to Story's instructions, Bridge on December 11, 2006 appraised

the value of Plaintiff's house at $755,000.00, fully $188,750.00 more than the settled




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principal of the mortgage on the house 30 days later (the GMAC mortgage) and higher

than the predominant value range for Plaintiffs neighborhood. (Complaint Exhibit Four).

        17.      Bridge did not view the interior of Plaintiffs house when making its

appraisal, thus missing non-functioning garage doors, plumbing problems, a failing boiler

and neutralizing tank, ceiling leaks, outdated appliances and damaged floors.

        18.      Even with his exterior-only "inspection", Bridge still did not note that the

roof of Plaintiffs house was approximately 30 years old and needed replacing.

        19.      Bridge also falsely noted that the property was "improved with new

thenno pane vrindows," a screened back porch and ceiling fans, when, in fact, the

windows are original to the house and in need of replacement, the porch is original to the

house and no ceiling fans had been installed.

        20.      The "comparable" houses that Bridge used in its appraisal of Plaintiffs

house contain discrepancies with other housing records.

        21.      Bridge's first "comparable" house has one more bathroom than shown on

the appraisal.

        22.      Bridge's second "comparable" house has an extra half-bathroom that was

not listed on Bridge's appraisal, and contains 428 more square feet than listed on Bridge's

appraisal.

        23.      Bridge's third "comparable" is located in a different town (North Potomac,

Maryland) than Plaintiffs house, is approximately ten years newer than Plaintiffs house,

and is used for a business (Royal Carpet).

        24.        On March 2, 2007, the Georgia Department of Banking and Finance,

inter alia, revoked Challenge's mortgage lender's license as part of a Consent Order to




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resolve allegations of Challenge's violations of the Georgia Residential Mortgage Act and

agency rules.
                                                                                      ll
       25.      On April 11,2007, Plaintiff signed documents ("Closing Documents        )   for

a closing of her refinancing with National City Mortgage (''National'').

       26.      The Closing Documents, which came from National, were contradictory

and confusing to Plaintiff.

       27.      As part of the Closing Documents, Plaintiff was given an Amortization

Schedule that listed Plaintiffs initial monthly payments for the refmancing with National

as $3,676.69. (Complaint Exhibit Five).

        28.     As part of the Closing Documents, the Borrower Personal Information did

not list a work number for Plaintiff, as Plaintiff was unemployed and had no income.

(Complaint Exhibit Six).

        29.     As part of the Closing Documents, the Deed of Trust lists Plaintiffs debt

to National as $641,750.00. (Complaint Exbibit Seven).

        30.     As part of the Closing Documents, Plaintiff signed an Interest Only

Payment Period Note Addendum which stated that Plaintiffs monthly payments for the

first 120 months of the refinanced mortgage would be $3,676.69, and thereafter would be

$4,927.45. (Complaint Exhibit Eight).

        31.     As part of the Closing Documents, Plaintiff signed the Note, which listed

the Principal of Plaintiffs refinanced mortgage as $641,750.00, and Plaintiffs monthly

payment as $4,215.85, in direct contradiction to the documents described in the preceding

paragraphs of this Complaint. (Complaint Exhibit Nine).




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       32.     As part of the Closing Documents, Plaintiff signed a Payment Breakdown

that lists Plaintiffs initial monthly payments as $4,453.86, in direct contradiction with the

initial monthly payment amount in the Closing Documents described in the preceding

paragraphs of this Complaint. (Complaint Exhibit Ten).

       33.     As part of the Closing Documents, a Request for Title Commitment lists

the loan amount for Plaintiff's refinancing as $641,750.00. (Complaint Exhibit Eleven).

        34.    As part of the Closing Documents, a Settlement Statement listed the loan

amount as $641,750.00. (Complaint Exhibit Twelve).

        35.    As part of the Closing Documents, a document entitled Special Loan

Instructions listed the loan amount as $641,750.00; and the mortgage amount as

$641,750.00, and after deduction of fees, a loan draft amount 0[$637,874.88.

(Complaint Exhibit Thirteen).

        36.     As part of the Closing Documents, the Truth-in-Lending Disclosure

Statement listed the amolUlt financed (the loan amount) as $631,922.30, in direct

contradiction with the Closing Documents described in the preceding paragraphs of this

Complaint. (Complaint Exhibit Fourteen).

        37.     The Truth-in-Lending Disclosure Statement also listed Plaintiffs initial

monthly payment as $4,018.96 for the first 120 months; $5,034.41 for the next 38 months

thereafter, $4,927.45 for the next 201 months thereafter; and $4,924.07 for the final

 month of the loan term.

        38.     The monthly payment schedule listed in ,the Truth-in-Lending Disclosure

 Statement directly contradicts the monthly payment schedules listed in the Closing

 Documents described in Paragraphs 20, 24, 25 and 28 of this Complaint.




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        39.      As part of the Closing Documents, the Uniform Residential Loan

Application listed the loan amount as $641,750.00 with a monthly payment of $4,100.01.

(Complaint Exhibit Fifteen).

        40.      The Uniform Residential Loan Application's stated loan amount directly

contradicts the loan amount listed in the Closing Document described in Paragraph 34 of

this Complaint.

        41.      The Uniform Residential Loan Application's stated monthly payment

directly contradicts the monthly payments listed in the Closing Documents described in

Paragraphs 20, 24, 25, 28 and 36 of this Complaint.

        42.       The Uniform Residential Loan Application did not list any employment

for Plaintiff.

        43.       PNC Financial Services (which includes PNC Mortgage) acquired

National City Corporation on December 31,2008.

        44.       Plaintiff received a letter from National dated February 24, 2009 that

referenced a conversation had with a National Loan Counselor regarding mortgage relief

options. (Complaint Exhibit Sixteen).

         45.      Plaintiff received a separate letter from National dated February 24, 2009

that requested Plaintiffs income and expense information to determine Plaintiff's

eligibility for one of National's mortgage relief programs. (Complaint Exhibit

Seventeen).

         46.      National sent a letter to Plaintiff dated March 21, 2009 which stated that

National was considering Plaintiff for a loan modification, and that requested more

financial information from Plaintiff. (Complaint Exhibit Eighteen).




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       47.     On May 1,2009, Plaintiff signed a Borrowers' Certification and

Authorization to permit Story, now with MidAtlantic Financial Group, Inc.

("MidAtlantic") to check the status of Plaintiffs loan modification request. (Complaint

Exhibit Nineteen).

       48.     National sent a letter to Plaintiff dated May 4, 2009 that requested

Plaintiffs income and expense information. (Complaint Exhibit Twenty).

        49.    National sent a letter to Plaintiff dated May 15,2009 in which National

declined Plaintiffs hardship assistance request because Plaintiff had "a deficit income."

(Complaint Exhibit Twenty-One).

        50.    National sent a letter to Plaintiff dated May 28, 2009 which stated that

National had referred Plaintiffs loan to National's foreclosure department. (Complaint

Exhibit Twenty. Two).

        51.     National sent a letter to Plaintiff dated May 29, 2009 that stated that

National had referred Plaintiff's loan to National's attorney "who has been instructed to

proceed with foreclosure." (Complaint Exhibit Twenty-Three).

        52.     On June 19,2009, Plaintiff met with Paul Leibold ("Leibold") of National

 regarding the possibilities of a loan modification to allow Plaintiff to stay in her house.

 (Complaint Exhibit Twenty-Four).

         53.     Leibold requested that a "hold" be placed on National's foreclosure

 efforts, and a hold was placed on such efforts on June 22, 2009.

         54.    Leibold confirmed the hold to Plaintiff in an e-mail dated July 8, 2009.

         55.     Plaintiff entered a Non-Curing Forbearance Agreement with National on

 August 21, 2009 under which National agreed to forbear its conduct of a foreclosure sale




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until after November 30, 2009 in exchange for three monthly payments from Plaintiff of

$1,247.75.; National granted this forbearance because National was then considering

Plaintiffs HAMP application. (Complaint Exhibit Twenty-Five).

       56.     PNC began rebranding National City Mortgage as "PNC Mortgage".

       57.     After the three months of the Agreement described in Paragraph 55 neared

expiration, National told Plaintiff that National's loan modification group had been too

busy to review Plaintiffs documentation, and thus National and Plaintiff entered another

Non-Curing Forbearance Agreement on November 24,2009 under which National.

agreed to forbear its conduct of a foreclosure sale until after February 28, 2010 in

exchange for three monthly payments of $1,247.75. (Complaint Exhibit Twenty-Six).

        58.    Wben National / PNC made no action to offer Plaintiff a modification,

Plaintiff called PNC in mid-December 2009 and spoke with PNC's Michael Schick

(ItSchick"), who offered Plaintiff a trial modification under the federal Home Affordable

Modification Program ("RAMP").

        59.     \\'hen Plaintiff received the RAMP documents from PNC, it was clear to

Plaintiff that the payments were larger than the HAl\1P-mandated 31% of Plaintiffs

monthly income.

        60.     Plaintiff contacted PNC's RAMP advocacy line and inquired about the

income upon which the monthly payments were based.

        61.     PNC told Plaintiff that PNC based the payments on an income exceeding

$8,000.00 per month.

        62.     Realizing that either an electronic or clerical error had been made by

Schick (or perhaps another PNC employee), Plaintiff spoke to Jerry Solomon




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("Solomon"), her attorney at the time, and Solomon contacted Schick and submitted

documents to PNC that would confirm Plaintiffs income as well as the payment that

would conform to RAMP's payment formula.

        63.    By letter dated March 3, 2010 PNC Bank informed Plaintiff that it closed

Plaintiffs Points VISA account due to "[s]erious delinquency and public record or

collection filed at the bureau." (Complaint Exhibit Twenty-Seven).

        64.    Plaintiff has heard from PNC employees, inter alia, that her loan was

securitized, and that the owners of her securitized loan refused to participate in HAMP~

that her loan was securitized, and the owners of her securitized loan are participating in

HAMP~ and that her loan is not securitized.

        65.     On March 18,2010, Cara McConnell ("McConnell") ofPNC told Plaintiff

that PNC did not know how to correct Schic.\(lserror, and that McConnell thought that the

only way to proceed was to withdraw Plaintiff's RAMP application from the system in

order to send a new RAMP application to Plaintiff, that would allow Plaintiff to re-apply

for the RAMP program.

        66.     Plaintiff (not Plaintiffs counsel) received a letter on March 22, 2010 from

PNC Collections containing a box marked with an "X" indicating that Plaintiff had

withdrawn from RAMP.

        67.     Plaintiff spoke with Michelle Osborne ("Osborne") of PNC on March 22,

2010 who informed Plaintiff that Plaintiffs file had been sent to PNC Collections, and

that Plaintiff could no longer speak to McConnell.

                                        COUNT I
 (Violation of Truth in Lending Act, 15 U.S.C. Section 1601, et seq., and its implementing
                regulation, Regulation Z, 12 C.F.R. Section 226.17 et seq.)
                                           PNC



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        68.       Plaintiff hereby incorporates by reference number Paragraphs 1-67 and

further states:

        69.        Plaintiff, as a borrower of consumer credit, has the right to bring an action

under the Truth in Lending Act ("TILA"), as TILA confers a statutory right of action only

on a borrower in a suit against a borrower's creditor, in this case, PNC (as successor-in-

interest to National). 15 US.c. Section 1603(f).

        70.        TILA is a consumer protection statute enacted by Congress "to assure a

meaningful disclosure of credit terms so that the consumer will be able to compare more

readily the various credit terms available to him and avoid the uninformed use of credit."

15 US.c. Section 160l(a).

        71.        National violated Se~tion 1601(a) of TIL A by not providing a meaningful

disclosure of credit terms so that Plaintiff would be able to compare more readily the

various credit terms available to her and avoid the uninformed use of credit, as National

supplied credit terms that showed two different loan amounts and five different monthly

payment amounts.

        n.         TILA is a remedial statute that is liberally construed in the favor of

consumers, and that TILA's language of should be construed liberally in light of its

broadly remedial purpose.

         73.       In order to ensure that the consumer is protected as Congress envisioned,

the provisions of TILA and its implementing regulations must be strictly enforced.

         74.       A misleading disclosure is as much a violation of TILA as a failure to

disclose at all.




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        75.     National's    misleading   disclosure of the loan amount and the monthly

payment amounts violated Tll...A.

        76.     Tll...A allows a borrower who uses her principal dwelling to secure her

loan a right of rescission    (15 US.c.    & 163S(a)) and imposes a three:"year statute of

limitations on actions to rescind (15 US.c.       Section 1635(f) states in pertinent part "An

obligor's right of rescission     shall expire three years after the date of consummation    of the

transaction or upon the sale of the property, whichever occurs first ...").

        77.     Plaintiff used her principal dwelling to secure her loan with National, and

thus has a right to rescind that loan; the loan was consummated            on April 11,2007, and

Plaintiff is thus within her three-year time period to rescind.

        78.      Regulation     Z defmes consummation       as "the time that a consumer becomes

contractually obligated on a credit transaction."        12 C.F.R.   S 226.2(a)(13).
        79.      Moreover,      Regulation Z provides that failure to provide a borrower with

material loan disclosures       extends the borrower's right to cancel the loan for up to three

years. 12 C.F.R. ~ 226.23(a)(3).

         80.     "In a credit transaction in which a security interest is or v;~ll be retained or

acquired in a consumer's        personal dwelling, each consumer whose ownership interest is

 or will be subject to the security interest shall have the right to rescind the transaction .... "

 12 C.F.R. 226.23(a)(I).

         81.     Thus, also under Regulation Z, Plaintiff has the right of rescission of the

 loan and is within the prescribed three-year time period for rescission.

         82.     Under 15 US.c.        Section 1638(a)-(b), creditors are required to disclose a

 list of specific loan terms to borrowers.




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       83.     Specifically, TILA requires a lender to disclose to a borrower, among

other things, the amount financed, the finance charge, the annual percentage rate, and the

total sale price. 15 V.S.c. 9 1638; 12 C.F.R. 9226.18.

       84.    National provided two different finance amounts to Plaintiff, and thus

violated Section 1638 of TILA, and Section 226.18 of Regulation Z.

       85.     The Federal Reserve Board's Staff Commentary ("Staff Commentary") in

implementing TILA through Regulation Z provides that where anyone of the three

events does not occur (the three events including consummation of the transaction and

delivery of all material disclosures), the consumer has three years from the

consummation of the loan to rescind. 12 C.F.R. Pt. 226, Supp. I, emt. 23(a)(3)-1.

        86.    Section 226.23 of Regulation Z provides that the term "material

disclosures" means the required disclosures of the annual percentage rate, the finance

charge, the amount financed, the total of payments, the payment schedule, and the

disclosures and limitations referred to in 99 226.32(c) and (d) and 226.35(b)(2). 12

C.F.R. 9 226.23 n. 48.

        87.    National provided two different finance amounts and five different

monthly payments on the payment schedules, and thus made material misleading

disclosures to Plaintiff in violation of Section 226.23 of Regulation Z, allowing Plaintiff

three years (until April 11, 2010) to rescind the loan.

        88.    The Tll..,Arequires a creditor to disclose to a borrower certain material

 terms clearly and conspicuously in writing, in a fOJm that the borrower may examine and

 retain for reference. 15 U.S.C.   S 1638(b)(l);    12 C.F.R. 9226.17(a)(1).




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                           :-".




        89.     National provided contradictory            material terms to Plaintiff, thus failing

TILA's "clear and conspicuous        requirement"     in violation of Section 1638(b)(l)           ofTILA

and Section 226. 17(a)(1) of Regulation         Z.

        90.         The disclosures must reflect the actual terms of the legal obligation

between the parties. 12 C.F.R       S 226.17(    c)(1).

        91.         Given the conflicting   terms provided by National to Plaintiff, it is

impossible to determine the actual terms of the legal obligations between the parties,

meaning that National failed the requirement              of Section 226. 17(c)(1) of Regulation Z.

        92.         In mortgage transactions     the disclosures under 12 C.F.R            S 226.18      must

"be delivered or mailed to the consumer no later than the third business day after the

creditor receives the consumer's       written application"        and no "later than the seventh

business day before consummation            of the transaction."      12 C.F.R.   S 226.   19(a)(I)(i)    &     S

226. 19(a)(2)(i).

         93.        Plaintiff received the 12 C.F.R.       S 226.18   disclosure by telefax on the day

of the loan's consummation,        April 11,2007;     thus, National violated Sections

226. 19(a)(1)(i) and 226. 19(a)(2)(i) of Regulation Z.

         94.        Consumers that have refmanced their residential mortgage with a different

creditor maintain the right to rescission of the mortgage pursuant to TILA and Regulation

Z.

         95.        Plaintiff refinanced her residential mortgage \vith a different creditor,

National, than her previous mortgage lender, GMAC, and thus Plaintiff maintains the

 right of rescission.




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        96.        The equitable goal of rescission under the TILA is to restore the parties to

the "status quo ante", i.e., placing the parties in their respective positions before the

execution of the loans.

        97.        The Court bas the power of reformation of the mortgage agreement in

instances of fraud or other inequitable conduct.

        98.        WHEREFORE, Plaintiff demands judgment against Defendant PNC in the

form of a rescission of the terms of Plaintiffs mortgage loan with PNC; reformation of a

mortgage between Plaintiff and PNC with a loan amount for the fair market value of

Plaintiffs house with monthly payments not to exceed 31% of Plaintiffs monthly

income; termination of any claims for costs against Plaintiff made by PNC's attorneys;

and restitution of all payments made by Plaintiff to National / PNC pursuant to that

mortgage loan. In addition, Plaintiff seeks costs and any other relief to which this Court

finds Plaintiff is entitled.

                                      COUNT II
     (Violation of the Maryland Consumer Protection Act, CL Section 13-101, et seq.)
                                         PNC

         99.       Plaintiff hereby incorporates by reference number Paragraphs 1-98 and

 further states:

         100.       The Maryland Consumer Protection Act ("MCPA") prohibits "any unfair

 or deceptive trade practice ... in ... (t)he e:>..iensionof consumer credit." Md.Code Ann.,

 Com. Law 9 13-303 (2009).

          101.      TILA does not conflict with, or preempt, the MCP A.

          102.      By enacting the Mep A, the General Assembly intended to "take strong

 protective and preventive steps to investigate unlawful consumer practices, to assist the




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public in obtaining relief from these practices, and to prevent these practices from

occurring in Maryland" Jd. at ~ 13-102(b)(3).

        103.    Md. Code Ann., Com. Law ~ 13-301 prohibits, among other things,

misleading representations and deceptive omissions of material fact relating to covered

transactions, including false or misleading statements or other factual representations

which have the tendency to deceive the customer, Md. Code Ann., Commercial Law ~ 13-

301 (the MCPA makes unlawful any "(u)unfair or deceptive trade practices includ[ing]

any [d)eception, fraud, false pretense, false premise, misrepresentation, or knowing

concealment, suppression, or omission of any material fact ,,~th the intent that a

consumer rely on the same in connection with        [tJhe promotion or sale of any consumer

goods, consumer realty, or consumer service        " Md. Code Ann. Comm. Law II        S 13-
30 1(9)(i).

         104.   Plaintiff has a contractual relationship with PNC, thus permitting Plaintiff

to bring an action against PNC under the MCP A.

         105.   National / PNC engaged in an unfair trade practice, thus violating Md.

 Code Ann. Comm. Law n ~13-301(9)(i», because National / PNC knew, as evidenced

 by the Uniform Residential Loan Application, that Plaintiff had no job or income.

         106.    When originating its loan with Plaintiff, National / PNC knew or should

 have known that Plaintiff could not reasonably repay the loan according to the loan's

 terms (which are conflicting) and that the loan would be subject to predictable

 delinquency and default.




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         107.       National / PNC issued the subject loan to Plaintiff without requiring the

verification     and/or consideration    of traditional supporting   documentation   to demonstrate

income, employment         and assets.

         108.       Although income is a crucial metric for purposes of assessing a borrower's

ability to repay a loan, particularly for borrowers that have impaired credit or minimal

assets, National / PNC failed to reasonably assess Plaintiffs          income for this risky loan.

         109.       It is uncertain whether National / PNC verified any of Plaintiffs

employment,       income or asset information.

         110.       Had National / PNC taken steps to verify Plaintiffs       income, it would have

had a reasonable basis to assess whether Plaintiff could, in fact, afford to repay the

loan.

         111.       By issuing the subject loan without adequate borrower income verification

and, without adequate asset or employer information,            National / PNC could not

reasonably analyze whether Plaintiff could afford to repay the loan and thus National /

PNC subjected Plaintiff in this loan to a substantial risk of default.

          112.      Not surprisingly,    given National / PNC's failure to reasonably assess

 Plaintiff to repay the subject loan from the outset, the subject loan was delinquent almost

 from the beginning.

          113.       Plaintiff has suffered tremendous physical (flare-ups of her MS with

 resulting worsening of her ability to walk and increased disabling MS fatigue), emotional

 (stress-related)    and fiscal (increased doctors' costs, high monthly mortgage payments,

 equity-stripping)     harm from National / PNC's unfair trade practice.




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       114.       To the extent National / PNC approved Plaintiff for the subject loan that

she could never afford, should have never received, and was exceedingly risky, it is now

Plaintiff herself who must struggle to address the reality created by National / PNC.

        115.      WHEREFORE, Plaintiff demands judgment against Defendant PNC in the

form of complete restitution for National / PNC's unfair u:-adepractices. In addition,

Plaintiff seeks costs and any other relief to which this Court finds Plaintiff is entitled.

                                       COUNT ill
     (Violation of Fair Debt Collection Practices Act, 15 US.c.      Section 1692 et seq.)
                                           PNC

        116.      Plaintiff hereby incorporates by reference number Paragraphs 1-115 and

further states:

        117.      To establish a prima facie case in an action for violation of the Fair Debt

Collection Practices Act, the plaintiff must prove that (1) the defendant was a debt

collector, (2) the defendant's conduct in attempting to collect a debt was prohibited by the

Act and (3) the debt was a consumer debt.

         118.      15 US.c. Section 1692c(a)(2) states that "Vvithout the prior consent of the

 consumer given directly to the debt collector or the express pennission of a court of

 competent jurisdiction, a debt collector may not communicate with a consumer in

 connection with the collection of any debt ifthe debt collector knows the consumer is

 represented by an attorney ",rith respect to such debt and has knowledge of, or can readily

 ascertain, such attorney's name and address, unless the attorney fails to respond within a

 reasonable period of time to a communication from the debt collector or unless the

 attorney consents to direct communication with the consumer ... "




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         119.      PNC knew that Plaintiff was represented by attorney Jerry Solomon by

virtue of Solomon's contacts with PNC on behalf of Plaintiff with PNC.

         120.      Yet, PNC, acting as a debt collector, thereafter contacted Plaintiff directly

regarding the     HAMP application and the collection of Plaintiffs consumer debt,

constituting     a violation of 15 U.S.C. Section 1692c(a)(2).

         121.      WHEREFORE,         Plaintiff demands judgment against Defendant PNC in the

form of complete restitution of Plaintiffs      stress-related   medical fees for PNC's violation

of the Fair Debt Collection Practices Act. In addition, Plaintiff seeks costs and any other

relief to which this Court finds Plaintiff is entitled.

                                            COUNT IV
                                   (Common Law Breach of Contract)
                                               PNC

         122.      Plaintiff hereby incorporates   by reference number Paragraphs      1-121 and

further states:

         123.       Maryland recognizes     an implied duty of good faith and fair dealing in

contracts.

         124.       The duty prohibits one party to a contract from acting in such a manner as

to prevent the other party from performing his obligations under the contract.

          125.      PNC, by making conflicting statements to Plaintiff regarding the

 securitization    of Plaintiffs   loan and HAMP application, and denying the existence of

 conversations     with Plaintiff, acted in bad faith in an attempt to forestall Plaintiffs ability

 to use a government       or PNC-sponsored    program to work out an affordable payment plan

 that would allow Plaintiff to perform her obligations under the mortgage contract.




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        126.      The Court has the power of reformation of the mortgage agreement in

instances of fraud or other inequitable conduct.

        127.      WHEREFORE, Plaintiff demands judgment against Defendant PNC in the

form of a rescission of the terms of the mortgage contract due to PNC's material breach

of that contract; refonnation of a mortgage between Plaintiff and PNC with a loan

amount for the fair market value of Plaintiffs house with montWy payments not to

exceed 31% of Plaintiffs monthly income; and punitive damages in the amount of

$250,000.00. In addition, Plaintiff seeks costs and any other relief to which this Court

finds Plaintiff is entitled.

                                         COUNT V
                        (Common Law Fraud and Unjust Enrichment)
                                  Challenge and Story

         128.     Plain'tiffhereby incorporates by reference number Paragraphs 1-127 and

further states:

         129.     Under Maryland common law, fraud consists of the following elements:

1) that a representation made by a party was false; 2) that the defendant knew the

representation was false or made the misrepresentation with such reckless indifference to

truth as to impute knowledge and an intent to defraud; 3) that the misrepresentation was

made for the purpose of deceiving the plaintiff; 4) that the plaintiff reasonably relied

upon the misrepresentation; and 5) that the plaintiff suffered damage directly resulting

from the misrepresentation.

         130.     To establish a claim for unjust enrichment in Maryland, the Plaintiff must

 allege three elements: 1) a benefit conferred upon the defendant by the plaintiff; 2) an

 appreciation or knowledge by the defendant oftbe benefit; and 3) the acceptance or




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retention by the defendant of the benefit under such circumstances as to make it

inequitable for the defendant to retain the benefit without the payment of its value.

        131.      Maryland courts generally do not recognize a cause of action for unjust

ernichment where the relationship of the parties is set out in a valid contract, however,

courts recognize certain exceptions to this rule, as in cases when there is evidence of

fraud or bad faith, there has been breach of contract or a mutual rescission of the contract,

when rescission is warranted, or when the e>-''Presscontract does not fully address a

subject matter.

        132.      Story, an agent of Challenge, committed fraud because he: 1) made

representations to Plaintiff that Story knew were false, such as (a) Plaintiffs ability to

repay a loan of $641,750.00 without any income and (b) Story's promise that Plaintiffs

bouse would imminently be worth at least a million dollars; 2) Story knew his

representations to Plaintiff were false and made these misrepresentations with such

reckless indifference to truth (such as repaying a $641,750 loan without income) as to

impute knowledge and an intent to defraud; 3) Story's misrepresentation was made with

the intent to deceive Plaintiff, and allow Story to collect his fee for arranging a

refinancing; 4) having dealt with Story before, Plaintiff reasonably relied upon Story's

misrepresentations; and 5) Plaintiff suffered damage directly from Story's

misrepresentations, including the loss of equity in her home, the destruction of her

 creditworthiness, threats of foreclosure and increased medical bills related to the stress

 related these harms.

         133.      Story's bandwritten notes show that he knew Plaintiff had no income, was

 bedridden with multiple sclerosis, and that Story arbitrarily arrived at an unrealistically




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high price for a house appraisal ($750,000), ostensibly to increase the amount of his fee

for brokering the refinanced mortgage.

         134.      Story and Challenge were unjustly enriched by their fraud because: 1)

Plaintiff conferred the benefit of origination fee payments to Challenge and Story; 2)

Challenge and Story both had appreciation and knowledge of the benefit; and 3) the

acceptance and retention ofthe benefit by Challenge and Story in this situation of fraud

makes it inequitable for Challenge and Story to retain the benefit without payment of its

value.

         135.      The Court has the power ofrefonnation of the mortgage agreement in

instances of fraud or other inequitable conduct.

         136.      WHEREFORE, Plaintiff demands judgment against Defendants Challenge

and Story in the fonn of: refonnation of a mortgage between Plaintiff and PNC with a

loan amount for the fair market value of Plaintiffs house with monthly payments not to

exceed 31 % of Plaintiffs monthly income; payment to Plaintiff of Challenge's and Story's

fees from the subject mortgage transaction of April 11,2007; payment ofPlaintitrs

medical costs related to stress suffered as a result of Defendants' fraud; and punitive

 damages in the amount of $250,000.00. In addition, Plaintiff seeks costs and any other

 relief to which this Court finds Plaintiff is entitled.

                                           cout<.TTf VI
                              (Common Law Fraud and Unjust Enrichment)
                                              Bridge

          137.     Plaintiff hereby incorporates by reference number Paragraphs 1-136 and

 further states:




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          138.   Under Maryland common law, fraud consists of the following elements:

1) that a representation made by a party was false; 2) that the defendant knew the

representation was false or made the misrepresentation with such reckless indifference to

truth as to impute knowledge and an intent to defraud; 3) that the misrepresentation was

made for the purpose of deceiving the plaintiff; 4) that the plaintiff reasonably relied

upon the misrepresentation; and 5) that the plaintiff suffered damage directly resulting

from the misrepresentation.

          139.   To establish a claim for imjust enrichment in Maryland, the Plaintiffrnust

allege three elements: 1) a benefit conferred upon the defendant by the plaintiff; 2) an

appreciation or knowledge by the defendant of the benefit; and 3) the acceptance or

retention by the defendant of the benefit under such circumstances as to make it

inequitable for the defendant to retain the benefit without the payment of its value.

          140.   Maryland courts generally do not recognize a cause of action for unjust

enrichment where the relationship of the parties is set out in a valid contract, however,

courts recognize certain exceptions to this rule, as in cases when there is evidence of

fraud or bad faith, there has breach of contract or a mutual recission of the contract, when

rescission is warranted, or when the express contract does not fully address a subject

matter.

          141.   Bridge committed fraud under Maryland common law, because it: 1)

made a representation, that Plaintiffs house was worth $755,000.00, that was false; 2)

 Bridge knew the representation was false or made the misrepresentation with such

 reckless indifference to truth as to impute knowledge and an intent to defraud, given that

 Bridge understated the size, number of bathrooms and business purposes of the




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flcomparables" cited in its appraisal report and vastly inflated the worth of Plaintiffs

house; 3) Bridge's misrepresentation was made for the purpose of deceiving Plaintiff into

believing that her house was worth far more than market value as inducement to enter

into the subject mortgage loan~ 4) Plaintiff reasonably relied upon Bridge's

misrepresentation to enter into a $641,750.00 mortgage loan~ and 5) Plaintiff suffered

damage, such as the loss of equity in her home, the destruction of her creditworthiness,

threats of foreclosure and increased medical bills related to the stress related these harms,

directly resulting from Bridge's misrepresentation.

        142.    Bridge was unjustly enriched by this fraud, because Plaintiff: 1) Plaintiff

conferred a benefit upon Bridge, specifically, $350.00; 2) Bridge had an appreciation or

knowledge of the benefit~ and 3) the acceptance or retention by Bridge of the benefit

under fTaudulent circumstances makes it inequitable for Bridge to retain the benefit

without the payment of its value.

        143.    The Court has the power of reformation of the mortgage agreement in

instances of fraud or other inequitable conduct.

         144.   WHEREFORE, Plaintiff demands judgment against Defendant Bridge in

 the form of payment to Plaintiff of Bridge's $350.00 appraisal fee~reformation of a

 mortgage between Plaintiff and PNC with a loan amount for the fair market value of

 Plaintiffs house with monthly payments not to exceed 31% of Plaintiffs monthly

 income; payment of Plaintiffs medical costs related to stress suffered as a result of

 Bridge's fraud~and punitive damages in the amount of $250,000.00. In addition, Plaintiff

 seeks costs and any other relief to which this Court finds Plaintiff is entitled.

                                    COUNTVll
                       (Common Law Tortious Conspiracy to Defraud)



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                                  Challenge, Story and Bridge

        145.      Plaintiff hereby incorporates by reference number Paragraphs 1-144 and

further states:

        146.      The tort of civil conspiracy is a combination of two or more persons by an

agreement or understanding to accomplish an unlawful act or to use unlawful means to

accomplish an act not in itself illegal, with the further requirement that the act or the

means employed must result in damages to the plaintiff.

        147.      The plaintiff must also prove the commission of an overt act, in

furtherance of the agreement, that caused the plaintiff to suffer actual injury.

         148.     The tort actually lies in the act causing the harm; the agreement to commit

that act is not actionable on its own but rather is in the nature of an aggravating factor.

         149.     Civil conspiracy is not a separate tort capable of independently sustaining

an award of damages in the absence of other tortious injury to the plaintiff.

         150.     Story, as agent for Challenge, and Bridge combined to commit fraud, an

unlawful act, by inflating the appraisal value of Plaintiffs house, so that Story and

 Challenge could receive higher fees than if the house (and resulting mortgage loan) was

 appraised at a lower value.

         151.      Story made a note to himself to have the house appraised at $750,000.00,

 and that Bridge, the appraiser, would do as he was told.

         152.      Bridge, not coincidentally, appraised the value of Plaintiffs house at

 $755,000.00.

         153.      Plaintiff suffered injuries from Story's and Bridge's overt acts of fraud

 emanating from the Story-Bridge conspiracy (Story's misrepresentations to Plaintiff and




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Bridge's hyper-inflated house appraisal), notably the loss of equity in her home, the

destruction of her creditworthiness, threats of foreclosure and increased medical bills

related to the stress related these harms.

        ] 54.   The Court has the power of reformation of the mortgage agreement in

instances of fraud or other inequitable conduct.

        155.    WHEREFORE, Plaintiff demands judgment against Defendants

Challenge, Story and Bridge in the form of payment to Plaintiff of Defendants' fees that

have been paid by Plaintiff; reformation of a mortgage between Plaintiff and PNC with a

loan amount for the fair market value of Plaintiff's house with monthly payments not to

exceed 31% of Plaintiffs monthly income; payment of Plaintiffs medical costs related to

stress suffered as a result of Defendants' fraud; punitive damages in the amount of

$250,000.00. In addition, Plaintiff seeks costs and any other relief to which this Court

finds Plaintiff is entitled.



                                        Respectfully submitted,

                                        THE HAMRlCK GROUP, LLC LAW FIRM



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